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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. ) Case: 1:23-mj-00036
David Elizalde Assigned To : Upadhyaya, Moxila A.
» Assign. Date : 2/16/2023
Description: Complaint W/ Arrest Warrant
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested} David Elizalde ?
who is accused of an offense or violation based on the following document filed with the court:

O Indictment [™ Superseding Indictment 0 Information © Superseding Information %&% Complaint

© Probation Violation Petition O Supervised Release Violation Petition O Violation Notice © Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)-Entering and remaining in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building

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Magistrate Judge's signature

Date: ___ 02/16/2023 __

City and state: Washington, D.C. Honorable Moxilla A. Upadhyaya
United States Magistrate Judge

 

 

Return

This warrant was received on (date) 0 3] \b { a and the person was arrested on (date) 0 4 do/ xed
at (city and state) AY LANL Qin , VA

pate: 4 | 4} qo) oye ht

Arresting officer's signature

nbhley Roberts /speual agent

Printed name and title

 

 

 

 
